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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                   CRIMINAL 12-0192-18CCC
 vs
 18) JOSE AVILA-JIMENEZ,
 a/k/a “Cheni”
 Defendant



                                    ORDER

      Having considered the Report and Recommendation filed on
December 1, 2015 (D.E. 2106) on a Rule 11 proceeding of defendant [18] José
Avila-Jiménez before U.S. Magistrate-Judge Bruce J. McGiverin on
November 16, 2015, to which no objection has been filed, the same is
APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since November 16, 2015. The sentencing
hearing is set for February 29, 2016 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
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objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
     SO ORDERED.
     At San Juan, Puerto Rico, on February 12, 2016.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
